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  IT IS ORDERED as set forth below:



  Date: August 24, 2018
                                              _____________________________________
                                                          James R. Sacca
                                                    U.S. Bankruptcy Court Judge

 _______________________________________________________________


                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 IN RE:
                                               CHAPTER 11
 DULUTH TRAVEL, INC.,
                                               CASE NO. 18-54894-JRS
       Debtor.


     ORDER AND NOTICE CONDITIONALLY APPROVING DEBTOR’S
       DISCLOSURE STATEMENT AND FIXING TIME FOR FILING
         ACCEPTANCES OR REJECTIONS OF DEBTOR’S PLAN,
   NOTICE OF CONFIRMATION HEARING, AND NOTICE OF THE TIME
   FIXED FOR FILING OBJECTIONS TO CONFIRMATION OF THE PLAN

      Debtor filed a Chapter 11 Plan of Reorganization (“Plan”) (Docket No. 100)

and Disclosure Statement (“Disclosure Statement”) (Docket No. 101) under Chapter

11 of the Bankruptcy Code on August 17, 2018. The Court has determined that conditional

approval of the disclosure statement is appropriate. 11 U.S.C. § 1125(f)(3); Bankruptcy

Rule 3017.1.
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       Accordingly,

        IT IS ORDERED, AND NOTICE IS HEREBY GIVEN THAT:

       A.      The Disclosure Statement filed by the Debtor in the above-styled case, dated

August 17, 2018, is conditionally approved.

       B.      October 1, 2018 is fixed as the last day for filing written acceptances or

rejections of the Plan (the “Ballot”).

       C.      The attorney for the Debtor shall transmit a copy of this Order, the Plan,

the Disclosure Statement, and a ballot by mail to creditors, equity security holders and

other parties in interest, as provided in Federal Rule Bankruptcy Procedure 3017(d) and

pursuant to BLR 9007-2, N.D. Ga., on or before August 31, 2018.

       D.      October 18, 2018 is fixed for the hearing on final approval of the

conditionally approved Disclosure Statement and for confirmation of the Plan. Said hearing

shall be held at 9:30 a.m. in Courtroom 1404, United States Courthouse, 75 Ted Turner

Drive, SW, Atlanta, Georgia, before the undersigned. Said hearing may be adjourned

from time to time by announcement made in open Court without further written notice to

parties in interest.

       E.      The Court, having scheduled the Final Hearing on Approval of Debtor’s

Disclosure Statement and Confirmation of Debtor’s Plan for October 18, 2018, extends

the forty-five (45) day timeframe to confirm the Debtor’s proposed plan under 11

U.S.C. §1129(e) through and including the date now fixed for the confirmation hearing

or any subsequent date to which the hearing is continued.
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        F.    Debtor shall file a Report of Balloting with the Clerk of the Bankruptcy

Court and serve pursuant to BLR 3018-1(b) and (c), N.D. Ga., on or before October 15,

2018.

        G. October 1, 2018 is fixed as the last day for filing and serving written objections

to the conditionally approved Disclosure Statement and confirmation of the Plan pursuant

to Federal Rule of Bankruptcy Procedure 3020(b)(1). Any objection to the confirmation of

the Plan must be made in writing and provide (a) the name and address of the objector; (b)

the amount and nature of the claim or interest held by the objector; and (c) all grounds for

objection. Any such objections shall be filed with the Clerk of the Bankruptcy Court, Room

1340, United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303, or by

using the Court’s electronic case filing system (“CM/ECF”). For information on electronic

filing, consult the Court’s website at www.ganb.uscourts.gov. Any objection must also be

served upon counsel for the Debtor, Anna M. Humnicky, Esq., Small Herrin, LLP, Two

Paces West, Suite 200, 2727 Paces Ferry Road, Atlanta, GA 30339.

                                   [END OF DOCUMENT]

Prepared and Presented by:
SMALL HERRIN, LLP Counsel to Debtor

By: /s/ Anna M. Humnicky
   Anna M. Humnicky
   Georgia Bar No. 377850

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